         Case 1:22-cv-00470-JEB Document 16 Filed 07/29/22 Page 1 of 2




                           UNITED STATES DISTRICT COURTS
                           FOR THE DISTRICT OF COLUMBIA




____________________________________
                                       )
Jordan Glogau                          )
271 Treetop Circle                     )
Nanuet, New York 10954                 )
                                       )
                                       )
VS.                                    ) CIVIL ACTION NO. (1:22-cv-00470-JEB)
                                       )   DC Appellate (22-5184)
                                       )
United States of America               )
Federal Triangle                       )
Washington, DC 20500                 )
____________________________________ )
          Case 1:22-cv-00470-JEB Document 16 Filed 07/29/22 Page 2 of 2




                            Motion for Time Extension for 22-5184
The plaintiff has contacted the Appellate Court and requested an extension of time to file all
requested documentation. This has been noted in the internal docket
We need from 2 to 3 weeks to prepare our case.
Plaintiff
Jordan Glogau
